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                      UNITED STATES DISTRICT COURT
             FOR THE Northern District of Illinois − CM/ECF NextGen 1.6.3
                                 Eastern Division

The Board of Trustees of The University of Illinois
                                                      Plaintiff,
v.                                                                      Case No.:
                                                                        1:21−cv−06546
                                                                        Honorable John
                                                                        Robert Blakey
Vintage Brand, LLC
                                                      Defendant.



                         NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Wednesday, June 22, 2022:


        MINUTE entry before the Honorable John Robert Blakey: Defendant shall
respond to Plaintiff's motion to strike Defendant's first, second, third, seventh, ninth, and
tenth affirmative defenses [55] by 7/8/22, and Plaintiff shall file any reply by 7/15/22. The
Court will rule on the motion in due course. Mailed notice(gel, )




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